                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:21-cv-3417-NYW-MEH

HOLLY KLUTH,

       Plaintiff,

v.

TONY SPURLOCK,
Individually and in his official capacity as Douglas County Sheriff,

       Defendant.


             NOTICE OF CONVENTIONALLY SUBMITTED MATERIALS


       PLEASE TAKE NOTICE THAT Defendant Tony Spurlock, by and through his counsel,

William T. O’Connell, III and Saugat K. Thapa of Wells, Anderson & Race, LLC, will submit the

following media files conventionally via disc to the Clerk’s Office. These files correspond to

Exhibits H, I, and J to Defendant Spurlock’s Motion for Summary Judgment [Doc. #30], as

indicated below:

              The video recording previously produced to Plaintiff in association with Defendant

               Spurlock’s Initial Disclosures pursuant to Fed. R. Civ. P. 26(a)(1) as bates number

               DCSO 000245 is Exhibit H to Defendant Spurlock’s Motion for Summary

               Judgment.

              The audio recording previously produced to Plaintiff in association with Defendant

               Spurlock’s Initial Disclosures pursuant to Fed. R. Civ. P. 26(a)(1) as bates number

               DCSO 000251 is Exhibit I to Defendant Spurlock’s Motion for Summary

               Judgment.
             The audio recording previously produced to Plaintiff in association with Defendant

              Spurlock’s Initial Disclosures pursuant to Fed. R. Civ. P. 26(a)(1) as bates number

              DCSO 000248 is Exhibit J to Defendant Spurlock’s Motion for Summary

              Judgment.

       Dated this 2nd day of December, 2022.

                                                   Respectfully Submitted,


                                                   s/William T. O’Connell III
                                                   William T. O’Connell, III
                                                   Saugat K. Thapa
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                                                   ATTORNEYS FOR DEFENDANT
                                                   TONY SPURLOCK


                               CERTIFICATE OF SERVICE
        I hereby certify that on December 2, 2022, a true and correct copy of the above and
foregoing NOTICE OF CONVENTIONALLY SUBMITTED MATERIALS was
electronically filed with the Clerk of Court using the CM/ECF system which will cause electronic
service of the same to the following e-mail addresses:

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